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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
      LARISA SOPKA, DANIELA SOPKA,
 9    TATYANA SOPKA,
10                                   Plaintiff,
11             vs.
12    WEA SOUTHCENTER LLC, d/b/a
      WESTFIELD SOUTHCENTER MALL, a
13    Delaware limited liability company doing
      business in the state of Washington; URW
14    WEA LLC, a Delaware limited liability
      company doing business in the State of
15    Washington; THE CHEESECAKE                     NO. 2:24-cv-00011-BJR
      FACTORY RESTAURANTS, INC., a
16    California corporation doing business in the
      State of Washington; WESTFIELD, LLC, a         STIPULATION RE NECESSARY
17    Delaware limited liability company doing       AND PROPER CORPORATE
      business in the State of Washington;           DEFENDANTS
18    WESTFIELD PROPERTY
      MANAGEMENT LLC, a limited liability
19    company doing business in the State of
      Washington; WESTFIELD AMERICA
20    LIMITED PARTNERSHIP, a Delaware
      limited partnership doing business in the
21    State of Washington; WESTFIELD DDC
      INC., a Delaware corporation doing
22    business in the state of Washington;
      WESTFIELD DEVELOPMENT INC. d/b/a
23    WESTFIELD DEVELOPMENT OF
      WASHINGTON INC., a Delaware
24    corporation doing business in the State of
      Washington; SOUTHCENTER OWNER
25    LLC, a Delaware limited liability company
      doing business in the State of Washington;
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 1    JOHN AND JANE DOES 1-5, individuals
      or entities,
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                                    Defendants.
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              The parties have reached an agreement regarding the necessary and proper corporate
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     defendants among the following defendants Plaintiffs have named in the case: WEA
 6
     Southcenter LLC, d/b/a Westfield Southcenter Mall; URW WEA LLC; Westfield, LLC;
 7
     Westfield Property Management LLC; Westfield America Limited Partnership; Westfield DDC
 8
     Inc.; Westfield Development Inc. d/b/a/ Westfield Development of Washington Inc.; and
 9
     Southcenter Owner LLC (collectively, “Westfield Entities”). The following recitals and
10
     stipulations comprise this agreement.
11
              Plaintiffs have included the Westfield Entities in their complaint to ensure that they have
12
     identified the correct defendant or defendants with the responsibility and legal duty for tort
13
     events within the Southcenter Mall complex. Further, Plaintiffs have sought to ensure that they
14
     have included the correct defendants for securing insurance policies, discovery, and/or other
15
     assets to cover potential liability exposure for the damages sought in their lawsuit.
16
              After investigation, counsel for the Westfield Entities indicates that among the
17
     Westfield Entities, Defendant Southcenter Owner LLC is the only necessary defendant for
18
     purposes of meeting the goals sought by plaintiffs as set out above. The Westfield Entities,
19
     collectively, have asked Plaintiffs to dismiss by voluntary non-suit: WEA Southcenter LLC,
20
     d/b/a Westfield Southcenter Mall; URW WEA LLC; Westfield, LLC; Westfield Property
21
     Management LLC; Westfield America Limited Partnership; Westfield DDC Inc.; and Westfield
22
     Development Inc. d/b/a/ Westfield Development of Washington Inc. (collectively the
23
     "Dismissed Westfield Entities") at this point, affirmatively warranting that all Dismissed
24
     Westfield Entities are superfluous and unnecessary.
25
              To facilitate this request, the Dismissed Westfield Entities have agreed to toll the statute
26
     of limitations for all Plaintiffs’ claims against the Dismissed Westfield Entities which would be
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     dismissed by voluntary non-suit and, in the event Plaintiffs deem it necessary at some point, to
 2
     permit the amendment of the Complaint to add the Dismissed Westfield Entities back into the
 3
     suit without objection, without the risk of a motion to dismiss under the statute of limitations,
 4
     and without motion for continuance as a result. Additionally, Defendant Southcenter Owner
 5
     LLC agrees to (1) waive any argument or defense that any of the Dismissed Westfield Entitles
 6
     owned, possessed, or controlled the premises at issue in this lawsuit at the time of the incident;
 7
     (2) waive any argument or defense attempting to apportion fault to any of the Dismissed
 8
     Westfield Entitles; and (3) will not assert that any information or document that is overwise
 9
     discoverable is not subject to disclosure or production because the information or document is
10
     in the possession or control of one of the Dismissed Westfield Entities.
11
              Plaintiffs accept this proposal and its conditions from the Westfield Entities. Plaintiffs
12
     will dismiss by voluntary non-suit the Dismissed Westfield Entities in exchange for the tolling
13
     agreement and the right to add the Dismissed Westfield Entities back in without objection and
14
     without creating grounds for a continuance. Plaintiffs will circulate a stipulated voluntary non-
15
     suit order to dismiss the Dismissed Westfield Entities by June 7, 2024.
16
              SIGNED this 31st day of May, 2024.
17

18
                                             PFAU COCHRAN VERTETIS AMALA PLLC
19
                                             By:    /s/ Darrell L. Cochran__________________
20                                                  Darrell L. Cochran, WSBA No. 22851
                                                    Attorney for Plaintiff
21

22                                           By:    /s/ Kevin M. Hastings__________________
                                                    Kevin M. Hastings, WSBA No. 42316
23
                                                    Attorney for Plaintiff
24

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                                      WOOD SMITH HENNING & BERMAN LLP
 2
                                      By:   /s/ Timothy D. Shea                  _____
 3                                          Timothy D. Shea, WSBA No. 39631
                                            Attorney for Southcenter and Westfield
 4                                          Defendants
 5                                    Chock Barhoum LLP
 6
                                      By:   /s/ Sarah Tuthill-Kveton
 7                                          Sarah Tuthill-Kveton, WSBA No. 51801
                                            Attorney for Defendant Cheesecake Factory
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 2
                                   CERTIFICATE OF SERVICE
 3
            I, Katie Hedger, hereby declare under penalty of perjury under the laws of the State of
 4
     Washington that that I am employed at Pfau Cochran Vertetis Amala, PLLC, and that on the
 5
     below date I caused to be served via ECF the foregoing document all counsel of record.
 6
            Timothy D. Shea
 7          Colin J. Troy
            Wood, Smith, Henning & Berman LLP
 8          801 Kirkland Ave, Ste. 100
            Kirkland, WA 98033
 9          Attorneys for Defendants WEA Southcenter LLC; URW WEA LLC; Westfield, LLC;
            Westfield Property Management LLC; Westfield America Limited Partnership;
10          Westfield DDC Inc.; Westfield Development Inc.; and Southcenter Owner LLC
11          Sarah Tuthill-Kveton
            Chock Barhoum LLP
12          121 SW Morrison Street, Ste. 500
            Portland, OR 97204
13          Attorney for Defendant Cheesecake Factory
14
            DATED this 31st day of May, 2024.
15
                                                        _/s/ Katie Hedger
16
                                                        Katie Hedger
17                                                      Legal Assistant

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      AND PROPER CORPORATE DEFENDANTS
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